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WK:RWN


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

                                       X


UNITED STATES OF AMERICA
                                                          COMPLAINT

          - against -
                                                          24-MJ-77

DENNY ALVAREZ TAVAREZ,
                                                          (T. 18, U.S.C.,§ 2252(a){4)(B))
                        Defendant.


                         -             X

EASTERN DISTRICT OF NEW YORK,SS:

              RACHEL MARIE KIDD,being duly sworn, deposes and states that she is a

Special Agent with the United States Department of Homeland Security, Homeland Security

Investigations ("HSI"), duly appointed according to law and acting as such.

              On or about January 30, 2024, within the Eastern District of New York and

elsewhere, the defendant DENNY ALVAREZ TAVAREZ did knowingly and intentionally

possess with intent to view matter containing one or more visual depictions, to wit: images in

digital files contained within an electronic device provided to United States Customs and

Border Protection by the defendant at John F. Kennedy International Airport, and which

visual depictions had been mailed, and shipped and transported in, and using a means and

facility of, interstate and foreign commerce,and which were produced using materials which

had been mailed, and so shipped and transported, by any means, including by computer,the

production of such visual depictions having involved the use of one or more minors engaging

in sexually explicit conduct,and such visual depictions were of such conduct.

              (Title 18, United States Code, Section 2252(a)(4)(B)).'
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